           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.929 Page 1 of 19



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                   9                          UNITED STATES DISTRICT COURT
                  10                       SOUTHERN DISTRICT OF CALIFORNIA
                  11 CALIFORNIA TRUCKING                            Case No. 3:18-cv-02458-BEN-BLM
                     ASSOCIATION, RAVINDER SINGH,
                  12 and THOMAS ODOM,                               MEMORANDUM OF POINTS AND
                                                                    AUTHORITIES IN SUPPORT OF
                  13                Plaintiffs,                     PLAINTIFFS’ EX PARTE
                                                                    APPLICATION FOR TEMPORARY
                  14         v.                                     RESTRAINING ORDER
                  15
                       XAVIER BECERRA, in his official              Date:        TBD
                       capacity as the Attorney General of the      Time:        TBD
                  16
                       State of California; JULIE SU, in her        Place:       Courtroom 5A
                  17   official capacity as Secretary of the
                       California Labor Workforce and               Complaint Filed: October 25, 2018
                  18   Development Agency; ANDRE                    Trial Date:       None
                       SCHOORL, in his official capacity as         District Judge: Hon. Roger T. Benitez
                  19   the Acting Director of the Department                          Courtroom 5A, 221 W.
                       of Industrial Relations of the State of                        Broadway, San Diego
                  20   California; and LILIA GARCIA-                Magistrate Judge: Hon. Barbara L. Major
                       BROWER, in her official capacity as                            11th Floor, 333 W.
                  21   Labor Commissioner of the State of                             Broadway, San Diego
                       California, Division of Labor Standards
                  22   Enforcement, PATRICK HENNING, in
                       his official capacity as the Director of
                  23   the Employment Development
                       Department,
                  24
                                    Defendants.
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                                                                                  Case No. 3:18-cv-02458-BEN-BLM
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.930 Page 2 of 19



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                                                                              Case No. 3:18-cv-02458-BEN-BLM
                                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
41214878_2.docx
                              PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
            Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.931 Page 3 of 19



                   1                                       TABLE OF CONTENTS
                   2
                                                                                                                                Page
                   3

                   4   I.     INTRODUCTION .................................................................................... 4
                   5   II.    BACKGROUND ...................................................................................... 5
                   6          A.       AB-5 Prohibits Motor Carriers From Contracting With
                                       Independent Owner-Operators To Perform Trucking
                   7                   Services Unless The Motor Carriers Treat The Owner-
                                       Operators As Employees. ............................................................... 5
                   8
                              B.       The State Defendants Are Charged With Enforcing AB-5. ........... 7
                   9
                              C.       Businesses Face A Genuine Threat Of Government
                  10                   Enforcement Of AB-5. ................................................................... 7
                  11   III.   ARGUMENT ............................................................................................ 8
                  12          A.       Plaintiffs Are Likely To Succeed On The Merits. ......................... 9
                  13          B.       Plaintiffs Will Suffer Imminent Irreparable Harm Absent
                                       A Temporary Restraining Order. ................................................. 12
                  14
                              C.       The Balance Of Hardships And The Public Interest Weigh
                  15                   Heavily In Plaintiffs’ Favor.......................................................... 15
                  16          D.       Plaintiffs Have Timely Brought This Application And
                                       Their For A Preliminary Injunction. ........................................... 16
                  17
                       IV.    CONCLUSION ....................................................................................... 17
                  18

                  19

                  20

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                  22

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                  28
                                                                     1             Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                   PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
            Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.932 Page 4 of 19



                   1                                         TABLE OF AUTHORITIES
                   2                                                                                                               Page(s)
                   3   Federal Cases
                   4   Am. Trucking Ass’ns, Inc. v. City of Los Angeles,
                         559 F.3d 1046 (9th Cir. 2009) ................................................................. 5, 9, 10, 14
                   5
                       Am. Trucking Ass’ns, Inc. v. Scheiner,
                   6     483 U.S. 266 (1987) .............................................................................................. 12
                   7   Bibb v. Navajo Freight Lines, Inc.,
                          359 U.S. 520 (1959) ............................................................................................. 11
                   8
                       Cal. Pharmacists Ass’n v. Maxwell-Jolly,
                   9     563 F.3d 847 (9th Cir. 2009), vacated on other grounds by Douglas
                         v. Indep. Living Ctr. of S. Cal, Inc., 565 U.S. 606 (2012) ..................................... 14
                  10
                       Cal. Trucking Ass’n v. Su,
                  11     903 F.3d 953 (9th Cir. 2018) ............................................................................. 6, 10
                  12   Chamber of Commerce of U.S. v. Edmondson,
                         594 F.3d 742 (10th Cir. 2010) ............................................................................... 15
                  13
                       FreshPoint Denver Inc. v. Trinity Fresh Distribution LLC,
                  14      2018 WL 6696676 (E.D. Cal. Dec. 20, 2018) ......................................................... 8
                  15   Ga. Latino Alliance for Human Rights v. Governor of Ga,
                         691 F.3d 1250 (11th Cir. 2012) ............................................................................. 13
                  16
                       Mass. Delivery Ass’n v. Healey,
                  17     821 F.3d 187 (1st Cir. 2016) ................................................................................. 10
                  18   Melendres v. Arpaio,
                         695 F.3d 990 (9th Cir. 2012) ................................................................................. 15
                  19
                       Morales v. Trans World Airlines, Inc.,
                  20     504 U.S. 374 (1992) .............................................................................................. 14
                  21   Nken v. Holder,
                         556 U.S. 418 (2009) .............................................................................................. 15
                  22
                       Raymond Motor Transp., Inc. v. Rice,
                  23     434 U.S. 429 (1978) ............................................................................................. 11
                  24   Rhorabough v. California Dep’t of Corr.,
                         2006 WL 2401928 (E.D. Cal. Aug. 18, 2006) ........................................................ 8
                  25
                       Schwann v. FedEx Ground Package System, Inc.,
                  26      813 F.3d 429, 438 (1st Cir. 2016) ..................................................................... 9, 10
                  27   Southern Pac. Co. v. Arizona,
                          325 U.S. 761 (1945) ............................................................................................. 11
                  28
                                                                       2             Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                     PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
            Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.933 Page 5 of 19



                   1   Utah Licensed Beverage Ass’n v. Leavitt,
                          256 F.3d 1061 (10th Cir. 2001) ............................................................................. 16
                   2
                       Valle del Sol Inc. v. Whiting,
                   3      732 F.3d 1006 (9th Cir. 2013) ............................................................................... 13
                   4   Winter v. Natural Res. Def. Council,
                         555 U.S. 7 (2008) .................................................................................................... 8
                   5
                       California Cases
                   6
                       Children & Families Com. of Fresno County v. Brown,
                   7     228 Cal. App. 4th 45 (2014) .................................................................................... 7
                   8   S. G. Borello & Sons, Inc. v. Department of Industrial Relations (1989)
                          48 Cal.3d 341 ......................................................................................................... 10
                   9
                       Federal Statutes
                  10
                       49 U.S.C.
                  11      § 14501(c)(1) ........................................................................................................... 4
                  12   California Statutes
                  13   Cal. Gov’t Code
                          § 12550 .................................................................................................................... 8
                  14
                       Cal. Gov’t Code
                  15      § 26500 .................................................................................................................... 8
                  16   Cal. Labor Code
                          § 1199 ...................................................................................................................... 7
                  17      § 61 .......................................................................................................................... 7
                          § 1193.5 ................................................................................................................... 7
                  18      § 226.6 ..................................................................................................................... 7
                          § 90.5 ....................................................................................................................... 7
                  19      § 95 .......................................................................................................................... 8
                          § 98.3 ....................................................................................................................... 8
                  20      § 226.8 ..................................................................................................................... 8
                          § 2750.3 ............................................................................................................... 8, 9
                  21

                  22   Other State Statutes
                  23   Unemployment Ins. Code
                         § 2117 ...................................................................................................................... 6
                  24
                       Other Authorities
                  25
                       Assembly Bill 5 (“AB-5”) ................................................................................... passim
                  26
                  27

                  28
                                                                         3             Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                       PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
            Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.934 Page 6 of 19



                   1   I.    INTRODUCTION
                   2         Assembly Bill 5 (“AB-5”) sets forth a mandatory test for determining whether a
                   3   driver performing trucking services for a motor carrier is an employee or independent
                   4   contractor for all purposes under the California Labor Code, the Industrial Welfare
                   5   Commission (“IWC”) wage orders, and the Unemployment Insurance Code. AB-5
                   6   becomes effective January 1, 2020, and will prohibit Plaintiff California Trucking
                   7   Association (“CTA”) and its motor carrier members from contracting with
                   8   independent owner-operators to provide trucking services in California unless such
                   9   motor carriers treat those workers as employees for all specified purposes under these
                  10   California employment laws and regulations.
                  11         Without this Court’s urgent intervention, Plaintiff CTA and its motor carrier
                  12   members will face immediate, irreparable harm, as motor carriers operating in
                  13   California must choose whether to comply with a state law that is clearly preempted
                  14   and thus unconstitutional and significantly transform their longstanding and lawful
                  15   business practices or face the risk of significant civil and criminal sanctions. The
                  16   Court should enter a temporary restraining order to maintain the status quo and allow
                  17   this Court to hear and decide the pending motion for a preliminary injunction brought
                  18   by Plaintiffs CTA, Ravinder Singh, and Thomas Odom (collectively, “Plaintiffs”).
                  19         The Federal Aviation Administration Authorization Act (“FAAAA”)
                  20   categorically prohibits any state from “enact[ing] or enforc[ing] a law, regulation, or
                  21   other provision having the force and effect of law related to a price, route, or service
                  22   of any motor carrier . . . with respect to the transportation of property.” 49 U.S.C. §
                  23   14501(c)(1) (emphasis added). The FAAAA preempts AB-5 as applied to motor
                  24   carriers, both expressly, because AB-5 will significantly affect the prices, routes, and
                  25   services that motor carriers will offer their customers, and impliedly, because it will
                  26   frustrate Congress’ intent in enacting the FAAAA.
                  27         In fact, the Ninth Circuit has recognized that when a state law requires that
                  28   motor carriers “transition . . . from independent-contractor drivers to employees of
                                                                    4              Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
            Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.935 Page 7 of 19



                   1   each licensed motor carrier,” the law is “highly likely to be shown to be preempted”
                   2   and must be preliminarily enjoined. Am. Trucking Ass’ns, Inc. v. City of Los Angeles,
                   3   559 F.3d 1046, 1049, 1056 (9th Cir. 2009) (“ATA”) (reversing district court’s denial
                   4   of preliminary injunction).
                   5           If it were allowed to go into effect, AB-5 would expose motor carriers to civil
                   6   and criminal penalties if they maintain their long-standing business practices and
                   7   continue to contract with independent owner-operators without treating such
                   8   individuals as employees for employment and payroll tax practices under the Labor
                   9   Code, IWC wage orders, and the Unemployment Insurance Code.
                  10           Plaintiffs have already moved for a preliminary injunction against the
                  11   enforcement of AB-5 as to motor carriers. See Mot. for a Preliminary Injunction (“P.I.
                  12   Mot.”), ECF No. 46. The current hearing date for that motion is January 13, 2020—
                  13   twelve (12) days after AB-5 goes into effect. To forestall irreparable harm should AB
                  14   5 be enforced during that gap and to avoid the need for this ex parte application,
                  15   Plaintiffs asked the State Defendants to agree to forgo enforcement of AB-5 until this
                  16   Court resolves the pending motion for a preliminary injunction. The State Defendants
                  17   refused. Accordingly, Plaintiffs now seek this temporary restraining order to preserve
                  18   the status quo pending the resolution of their preliminary-injunction motion.
                  19   II.     BACKGROUND
                  20           A.     AB-5 Prohibits Motor Carriers From Contracting With Independent
                  21                  Owner-Operators To Perform Trucking Services Unless The Motor
                  22                  Carriers Treat The Owner-Operators As Employees.
                  23           On September 11, 2019, the California Legislature passed AB-5, which was
                  24   signed by Governor Gavin Newsom a week later on September 18, 2019. AB-5 adds
                  25   Section 2750.3 to the California Labor Code, which provides at subdivision (a)(1)
                  26   that:
                               [A] person providing labor or services for remuneration shall be
                  27           considered an employee rather than an independent contractor unless
                               the hiring entity demonstrates that all of the following conditions are
                  28           satisfied:
                                                                     5               Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                    PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
            Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.936 Page 8 of 19



                   1                (A) The person is free from the control and direction of the hiring
                                    entity in connection with the performance of the work, both under
                   2                the contract for the performance of the work and in fact.
                                    (B) The person performs work that is outside the usual course of
                   3                the hiring entity’s business.
                                    (C) The person is customarily engaged in an independently
                   4                established trade, occupation, or business of the same nature as
                                    that involved in the work performed. (emphasis added.)
                   5

                   6         Unless one of the narrow exceptions set forth elsewhere in the statute applies,
                   7   this test, colloquially known as the ABC test, will determine whether the worker is an
                   8   employee under the Labor Code, the IWC wage orders, and the Unemployment
                   9   Insurance Code. The new statute takes effect on January 1, 2020.
                  10         AB-5 contains no express exemption for motor carriers. Accordingly, the
                  11   impact of the ABC test set forth in AB-5 on motor carriers is profound and direct.
                  12   Pursuant to Prong B, a worker is considered an employee, not an independent
                  13   contractor, unless the hiring entity establishes “that the person performs work that is
                  14   outside the usual course of the hiring entity’s business.” AB-5, § 2 (Lab. Code §
                  15   2750.3(a)(1)(B)). Thus, the ABC test plainly and unambiguously prohibits the use of
                  16   independent contractor owner-operators, “because, under the ‘ABC’ test, a worker
                  17   providing a service within a motor carrier’s course of business will never be
                  18   considered an independent contractor.” Cal. Trucking Ass’n v. Su, 903 F.3d 953, 964
                  19   (9th Cir. 2018) (“Su”).
                  20         Motor carriers that do not classify owner-operators as employees and afford
                  21   them the benefits owed employees under California law (and undertake the many
                  22   burdens imposed by California law on employers), as AB-5 requires, are subject to
                  23   criminal and civil penalties under multiple statutes. For example, under the
                  24   Unemployment Insurance Code, any motor carrier that fails to file any return or report
                  25   or to supply any information required by that code is guilty of a misdemeanor,
                  26   punishable by imprisonment not exceeding one year or a fine in an amount not to
                  27   exceed one thousand dollars ($1,000) or both. See Cal. Unemp. Ins. Code § 2117.
                  28   Violations of the IWC wage orders are also misdemeanors punishable by
                                                                 6            Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
            Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.937 Page 9 of 19



                   1   imprisonment for not less than 30 days or a fine of not less than one hundred dollars
                   2   ($100) or both. See Cal. Labor Code § 1199. And motor carriers that violate the
                   3   restrictions imposed by AB-5 by failing to provide itemized wage statements to any
                   4   persons deemed to be employees are guilty of a misdemeanor, which is punishable by
                   5   imprisonment not exceeding one year or a fine not exceeding $1,000 or both, at the
                   6   discretion of the court. See Cal. Labor Code § 226.6.
                   7         B.     The State Defendants Are Charged With Enforcing AB-5.
                   8         The State is represented in this lawsuit by representatives of the agencies that
                   9   are principally charged with enforcing AB-5: Attorney General Xavier Becerra,
                  10   former Acting Director of the Department of Industrial Relations (“DIR”) Andre
                  11   Schoorl, Secretary of the California Labor Workforce and Development Agency
                  12   Julie A. Su, Labor Commissioner Lilia Garcia-Brower, and Director of the
                  13   Employment Development Department (“EDD”) Patrick Henning.
                  14         Labor Code § 90.5 announces “[i]t is the policy of this state to vigorously
                  15   enforce minimum labor standards in order to ensure employees are not required or
                  16   permitted to work under substandard unlawful conditions . . . .” For example, “it is
                  17   the Attorney General’s job to pursue litigation that is in the general interest of the
                  18   state’s population . . . .” Children & Families Com. of Fresno County v. Brown, 228
                  19   Cal. App. 4th 45, 59 (2014). Further, the Division of Labor Standards Enforcement
                  20   (“DLSE”), a division within the Labor Commissioner’s office, is specifically
                  21   empowered by the Legislature to enforce California’s laws for employees, including
                  22   investigating complaints, initiating enforcement actions, and adjudicating wage
                  23   claims through its hearing process. See Cal. Labor Code §§ 61 and 1193.5.
                  24         C.     Businesses Face A Genuine Threat Of Government Enforcement Of
                  25                AB-5.
                  26         Motor carriers that do not comply with AB-5 risk being subjected to several
                  27   types of enforcement actions by Defendants:
                  28
                                                                    7             Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.938 Page 10 of 19



                   1           Because violations of the California Unemployment Insurance Code, IWC
                   2             wage orders, and certain provisions of the California Labor Code are
                   3             misdemeanors, motor carriers are at risk of prosecution by California’s
                   4             Attorney General and the District Attorneys under his direct supervision,
                   5             who are charged with enforcing California’s criminal laws. Cal. Gov’t
                   6             Code §§ 12550, 26500.
                   7           The Labor Commissioner may enforce AB-5 directly, including through
                   8             the imposition of civil penalties of up to $25,000 per violation for any
                   9             willful misclassification of an employee. Cal. Labor Code §§ 95(a),
                  10             98.3(a), and 226.8.
                  11           The State has created a webpage, found on the website of the DIR, entitled
                  12             “Independent contractor versus employee.” See
                  13             https://www.dir.ca.gov/dlse/faq_independentcontractor.htm. A member of
                  14             the public who “think[s] they should be considered an employee” is
                  15             directed to, among other things, file a “wage claim with the Labor
                  16             Commissioner’s Office” or a “Report of Labor Law Violation with the
                  17             Labor Commissioner’s Office for widespread violations affecting a group
                  18             of workers.” Id.
                  19           The Attorney General and specified city attorneys and prosecutors may
                  20             enforce AB-5 directly by commencing an action for injunctive relief. AB-5,
                  21             § 2 (Cal. Labor Code § 2750.3(j)).
                  22          The threat to motor carriers operating in California is significant, real, and
                  23   imminent.
                  24   III.   ARGUMENT
                  25          “Temporary restraining orders are emergency measures, intended to preserve
                  26   the status quo pending a fuller hearing on the injunctive relief requested.” FreshPoint
                  27   Denver Inc. v. Trinity Fresh Distrib. LLC, 2018 WL 6696676, at *2 (E.D. Cal. Dec.
                  28   20, 2018). “Requests for temporary restraining orders are governed by the same
                                                                 8               Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                   PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.939 Page 11 of 19



                   1   general standards that govern the issuance of a preliminary injunction.” Rhorabough
                   2   v. California Dep’t of Corr., 2006 WL 2401928, at *1 (E.D. Cal. Aug. 18, 2006). A
                   3   party is entitled to a preliminary injunction if it shows that (1) it is “likely to succeed
                   4   on the merits”; (2) it is “likely to suffer irreparable harm in the absence of preliminary
                   5   relief”; (3) the balance of equities tips in [its] favor”; and (4) “an injunction is in the
                   6   public interest.” Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008).
                   7         Here, all four factors favor Plaintiffs. The Court should grant the temporary
                   8   relief requested in order to prevent immediate, severe, and irreparable harm to
                   9   Plaintiffs that would occur if the State is permitted to enforce AB-5 against motor
                  10   carriers before the Court has the opportunity to resolve Plaintiffs’ motion for a
                  11   preliminary injunction.
                  12         A.     Plaintiffs Are Likely To Succeed On The Merits.
                  13         Plaintiffs’ motion for a preliminary injunction details why they are likely to
                  14   succeed on the merits of their claims. See Preliminary Injunction (“P.I.”) Mot. 13-16.
                  15   That is because AB-5 is preempted by the FAAAA and violates the Dormant
                  16   Commerce Clause of the United States Constitution.
                  17         When a state requires that motor carriers “transition . . . from independent-
                  18   contractor drivers to employees of each licensed motor carrier,” the law is “highly
                  19   likely to be shown to be preempted.” ATA, 559 F.3d at 1049, 1056. Federal courts of
                  20   appeals agree that the version of the ABC test adopted in AB-5 is preempted by the
                  21   FAAAA, because it effectively dictates that a motor carrier’s services cannot be
                  22   performed by independent contractors, which leads to both direct and indirect effects
                  23   on motor-carrier prices, routes, and services.
                  24         For example, the First Circuit has held that Prong B of the Massachusetts ABC
                  25   test—which was the model for, and materially indistinguishable from, Prong B of the
                  26   California ABC test—is preempted by the FAAAA. Schwann v. FedEx Ground
                  27   Package System, Inc., 813 F.3d 429 (1st Cir. 2016). The court explained that Prong B
                  28   would significantly affect routes and services because it “mandate[s] that any services
                                                                   9              Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.940 Page 12 of 19



                   1   deemed ‘usual’ to” a motor carrier’s “course of business be performed by an
                   2   employee. Such an application of state law poses a serious potential impediment to the
                   3   achievement of the FAAAA’s objectives” since market forces do not “ultimately
                   4   determine what services that company provides and how it chooses to provide them.”
                   5   Id. at 438. The court concluded that Prong B’s mandated employee relationship
                   6   necessarily affects routes and services, thus triggering FAAAA preemption,
                   7   reasoning:
                   8         [B]ecause Prong 2 would mandate that FedEx classify these individual
                             contractors as employees, FedEx would be required to reimburse them
                   9         for business-related expenses. The logical effect of this requirement
                             would thus preclude FedEx from providing for first-and-last mile pick-
                  10         up and delivery services through an independent person who bears the
                             economic risk associated with any inefficiencies in performance. This
                  11         regulatory prohibition would also logically be expected to have a
                             significant impact on the actual routes followed for the pick-up and
                  12         delivery of packages. . . . It is reasonable to conclude that employees
                             would have a different array of incentives that could render their
                  13         selection of routes less efficient, undercutting one of Congress’s express
                             goals in crafting an express preemption proviso.
                  14

                  15   Id. at 439 (emphases added); see also Mass. Delivery Ass’n v. Healey, 821 F.3d 187,
                  16   193 (1st Cir. 2016) (holding that application of Massachusetts’ Prong B would
                  17   necessarily “deprive [the motor carrier] of its choice of method of providing for
                  18   delivery services and incentivizing the persons providing those services”).
                  19         In Su, the Ninth Circuit likewise recognized the “obvious proposition that an
                  20   ‘all or nothing’ rule requiring services be performed by certain types of employee
                  21   drivers . . . [is] likely preempted” by the FAAAA. Su, 903 F.3d at 964 (emphasis
                  22   added). There, the court distinguished between the traditional Borello worker
                  23   classification test, which it held is not preempted, and the ABC test, which it strongly
                  24   suggested would be preempted. The court explained that “the ‘ABC’ test may
                  25   effectively compel a motor carrier to use employees for certain services because,
                  26   under the ‘ABC’ test, a worker providing a service within a motor carrier’s course of
                  27   business will never be considered an independent contractor.” Id. The Ninth Circuit’s
                  28   suggestion that the ABC test is preempted by the FAAAA follows its ATA decision, in
                                                                10           Case No. 3:18-cv-02458-BEN-BLM
41214878_2.docx
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                    PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.941 Page 13 of 19



                   1   which it noted that plans proposed by the Los Angeles-area ports to prohibit motor
                   2   carriers from using independent contractors were “highly likely to be shown to be
                   3   preempted” by the FAAAA. ATA, 559 F.3d at 1056 (emphasis added).
                   4         Because AB-5 imposes excessive burdens on motor carriers, it also violates the
                   5   Dormant Commerce Clause of the United States Constitution. To comply with AB-5,
                   6   motor carriers must overhaul their business, including abandoning the efficient,
                   7   effective, and federally recognized use of owner-operators to transport the nation’s
                   8   freight. Sometimes, motor carriers will no longer offer the same range of services as
                   9   before to customers seeking to transport cargo into or out of California, or charging
                  10   higher prices to do so. In other cases, motor carriers will be forced to abandon the
                  11   California market entirely—thus introducing the very chilling effect on interstate
                  12   commerce that the FAAAA prevented by prohibiting disparate regulation of the
                  13   industry by different states. See Southern Pac. Co. v. Arizona, 325 U.S. 761, 771, 773
                  14   (1945) (holding that Arizona’s limit on train lengths violated Commerce Clause
                  15   because “the operation of long trains . . . is standard practice over the main lines of the
                  16   railroads of the United States,” and “[c]ompliance with a state statute limiting train
                  17   lengths requires interstate trains of a length lawful in other states to be broken up and
                  18   reconstituted as they enter each state”); Bibb v. Navajo Freight Lines, Inc., 359 U.S.
                  19   520, 527 (1959) (holding that Illinois requirement that trucks use a specific design of
                  20   mudguard on their rear fenders violated the Commerce Clause because the statute
                  21   “seriously interferes . . . the interchanging of trailers between an originating carrier
                  22   and another carrier when the latter serves an area not served by the former,” a practice
                  23   that “is particularly vital in connection with shipment of perishables, which would
                  24   spoil if unloaded before reaching their destination”); Raymond Motor Transp., Inc. v.
                  25   Rice, 434 U.S. 429, 445 (1978) (holding that Wisconsin regulations that effectively
                  26   prohibited motor carriers from moving double trailers through the state violated the
                  27   Commerce Clause because “the regulations slow the movement of goods in interstate
                  28   commerce by forcing appellants to haul doubles across the State separately, to haul
                                                                11              Case No. 3:18-cv-02458-BEN-BLM
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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.942 Page 14 of 19



                   1   doubles around the State altogether, or to incur the delays caused by using singles
                   2   instead of doubles to pick up and deliver goods”); Am. Trucking Ass’ns, Inc. v.
                   3   Scheiner, 483 U.S. 266, 286-87 (1987) (finding a “forbidden impact on interstate
                   4   commerce” where an anomalous state truck tax “exert[ed] an inexorable hydraulic
                   5   pressure on interstate businesses to ply their trade within the State that enacted the
                   6   measure rather than ‘among the several States’”).
                   7         In short, Plaintiffs are likely to prevail on their claim that AB-5 violates federal
                   8   law. See P.I. Mot. 14-16.
                   9         B.     Plaintiffs Will Suffer Imminent Irreparable Harm Absent A
                  10                Temporary Restraining Order.
                  11         If AB-5 were allowed to be applied to motor carriers as scheduled on January 1,
                  12   2020, Plaintiff CTA and its members will be exposed to irreparable harm.
                  13         As Plaintiffs explain in their motion for a preliminary injunction, many of
                  14   CTA’s members rely on independent owner-operators, like the individual Plaintiffs, to
                  15   transport cargo and other property throughout California and the United States. See
                  16   P.I. Mot. 8-9. Motor carriers depend on the owner-operator model to provide effective
                  17   and efficient services to shippers seeking to transport goods. Id. Demand for the
                  18   shipment of goods fluctuates depending on the season, domestic and international
                  19   demand, natural disasters, and other factors. Id. Because demand for services
                  20   fluctuates, sometimes widely, motor carriers—even those that own trucks that are
                  21   driven by employees—need the ability to contract with owner-operators to satisfy
                  22   customer demand. Id. The ability to contract with owner-operators enables motor
                  23   carriers to quickly scale up their operations in times of peak demand, to avoid idling
                  24   equipment and employees during periods of lesser demand, and to offer their
                  25   customers specialized trucking services at sustainable prices by avoiding costs
                  26   associated with purchasing and maintaining specialized equipment that is needed only
                  27   periodically. Id.
                  28         Unless this Court provides temporary relief now by preserving the status
                                                               12               Case No. 3:18-cv-02458-BEN-BLM
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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.943 Page 15 of 19



                   1   quo—until it resolves Plaintiffs’ motion for a preliminary injunction—CTA and its
                   2   members will suffer significant harms that cannot be corrected once inflicted, no
                   3   matter how they respond to AB-5. On the one hand, motor carriers that refuse to
                   4   comply with AB-5 in the good-faith belief that it is preempted and unconstitutional
                   5   face the following immediate risks that constitute irreparable harm:
                   6          AB-5 exposes motor carriers to an immediate risk of criminal prosecution
                   7             beginning on January 1, 2020. See Ga. Latino Alliance for Human Rights v.
                   8             Governor of Ga, 691 F.3d 1250, 1269 (11th Cir. 2012) (“the threat of state
                   9             prosecution for crimes that conflict with federal law” amounts to
                  10             irreparable harm); Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th
                  11             Cir. 2013) (confirming that the “threat of prosecution under the
                  12             [challenged] statute” establishes irreparable harm).
                  13          Motor carriers also face a serious risk of civil investigations and
                  14             enforcement actions under the Labor Code, IWC wage orders, and the
                  15             Unemployment Insurance Code. Defendants vigorously enforce these
                  16             statutes and regulations and have issued notices to companies and created a
                  17             webpage dedicated exclusively to the requirements of AB-5 and its
                  18             mandates that are effective January 1, 2020. See
                  19             https://www.dir.ca.gov/dlse/faq_independentcontractor.htm.
                  20         On the other hand, if motor carriers are coerced into compliance by the threat
                  21   of criminal and civil penalties, they will suffer other immediate, irreparable injuries.
                  22          Motor carriers that comply will have to forgo their federally protected
                  23             rights to contract with independent owner-operators to transport cargo
                  24             within California. See P.I. Mot. 12-14.
                  25          If they wish to continue offering the same services to their customers using
                  26             only employee drivers, motor carriers must acquire trucks, hire and train
                  27             employees, and establish the administrative infrastructure to comply with
                  28             AB-5. See P.I. Mot. 28-29.
                                                                   13             Case No. 3:18-cv-02458-BEN-BLM
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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.944 Page 16 of 19



                   1          Forcibly transitioning independent contractor owner-operators to
                   2             employees will significantly impact the prices, routes, and services that
                   3             motor carriers offer to their customers. See P.I. Mot. 9-12, 22-23. While the
                   4             State and intervenors contend that the impact of individual requirements
                   5             imposed by California law (such as meal periods) will be limited, they
                   6             ignore the combined effect of simultaneously requiring motor carriers to
                   7             comply with hundreds or thousands of regulations. This includes, but is not
                   8             limited to, the obligation that they comply with all provisions of the
                   9             California Labor Code, Unemployment Insurance Code, Workers’
                  10             Compensation scheme, payroll tax obligations, and so forth.
                  11         Were AB-5 to be invalidated later, Plaintiffs’ members could not undo the
                  12   consequences of changes they had made in an effort to comply with AB-5. None of
                  13   these costs can be recovered with monetary damages at the conclusion of the suit,
                  14   because such recovery would likely be barred by sovereign immunity. See, e.g., Cal.
                  15   Pharmacists Ass’n v. Maxwell-Jolly, 563 F.3d 847, 852 (9th Cir. 2009), vacated on
                  16   other grounds by Douglas v. Indep. Living Ctr. of S. Cal., Inc., 565 U.S. 606 (2012).
                  17         Because Plaintiff CTA’s members must choose between risking enforcement
                  18   actions or complying with an invalid law that requires them to alter their business
                  19   relationships with the independent owner-operator drivers with whom they contract to
                  20   transport cargo interstate and intrastate and incur significant costs, “a very real penalty
                  21   attaches” regardless of how the members proceed. ATA, 559 F.3d at 1058; see also
                  22   Morales v. Trans World Airlines, Inc., 504 U.S. 374, 381 (1992) (recognizing that
                  23   confronting a “Hobson’s choice” amounts to irreparable harm). In either case, the
                  24   irreparable harm is clear, and can be avoided only if enforcement of AB-5 as to motor
                  25   carriers is enjoined. Thus, Plaintiffs require temporary relief for the brief period of
                  26   time between the date AB-5 is scheduled to take effect and the date this Court can
                  27   resolve Plaintiffs’ pending motion for a preliminary injunction.
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                                                                   14             Case No. 3:18-cv-02458-BEN-BLM
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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.945 Page 17 of 19



                   1         C.      The Balance Of Hardships And The Public Interest Weigh Heavily
                   2                 In Plaintiffs’ Favor.
                   3         The inquiries into the balance of the hardships and the public interest merge
                   4   when, as here, the government is a party. Nken v. Holder, 556 U.S. 418, 435 (2009).
                   5   And in this case, both factors strongly support issuing a temporary restraining order
                   6   for the short time needed to protect Plaintiffs and their members against irreparable
                   7   harms prior to the Court’s resolution of the pending motion for a preliminary
                   8   injunction.
                   9         As Plaintiffs described in their motion for a preliminary injunction, allowing
                  10   AB-5 to go into effect as to motor carriers would deprive them of their
                  11   congressionally recognized right to contract with independent owner-operators to
                  12   transport cargo. See P.I. Mot. 12-14.
                  13         In stark contrast to the irreparable injury that Plaintiffs’ members would suffer
                  14   without temporary relief, Defendants will suffer no harm from halting enforcement of
                  15   AB-5 for the short period until the Court can resolve Plaintiffs’ motion for a
                  16   preliminary injunction. Indeed, when it enacted AB-5, the legislature anticipated that
                  17   the ABC test might be struck down and provided for that eventuality, specifying at
                  18   subdivision 2750.3(a)(3) that the existing pre-AB-5 test for determining whether a
                  19   worker is an employee shall apply if that should happen:
                  20        If a court of law rules that the three-part test in paragraph (1) cannot be
                            applied to a particular context based on grounds other than an express
                  21        exception to employment status as provided under paragraph (2), then
                            the determination of employee or independent contractor status in that
                  22        context shall instead be governed by the California Supreme Court’s
                            decision in S. G. Borello & Sons, Inc. v. Department of Industrial
                  23        Relations (1989) 48 Cal.3d 341 (Borello).
                  24         In short, given the availability of the current Borello test, there is no urgent
                  25   reason that AB-5 needs to be enforced against motor carriers prior to resolution of
                  26   Plaintiffs’ motion for a preliminary injunction. Moreover, the public interest is always
                  27   served by enjoining the enforcement of invalid provisions of a state law. See
                  28   Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012); see also Chamber of
                                                               15               Case No. 3:18-cv-02458-BEN-BLM
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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.946 Page 18 of 19



                   1   Commerce of U.S. v. Edmondson, 594 F.3d 742, 771 (10th Cir. 2010); Utah Licensed
                   2   Beverage Ass’n v. Leavitt, 256 F.3d 1061, 1076 (10th Cir. 2001).
                   3         D.     Plaintiffs Have Timely Brought This Application And Their Motion
                   4                For A Preliminary Injunction.
                   5         In addition to satisfying the traditional factors warranting a preliminary
                   6   injunction, Plaintiffs have not “unduly delayed in seeking injunctive relief.”
                   7         Plaintiffs filed their Second Amended Complaint alleging claims against AB-5
                   8   on November 12, 2019, shortly after the bill was signed into law by the Governor and
                   9   well within the 60-day period set forth by the Court in its order, dated September 24,
                  10   2019, allowing Plaintiffs to file an amended complaint. ECF No. 46. On Monday,
                  11   December 3, 2019, Plaintiffs filed their motion for a preliminary injunction. ECF No.
                  12   54. The earliest possible hearing date on the motion was December 30, 2019, which
                  13   Plaintiffs noticed as the hearing date. See id. Had that hearing date remained on the
                  14   calendar, the Court might have been able to resolve Plaintiffs’ motion for a
                  15   preliminary injunction before AB-5 is scheduled to take effect.
                  16         On Friday, December 20, 2019, however, the Court reset the hearing for
                  17   January 13, 2020. ECF No. 61. As a consequence, Plaintiffs need some form of
                  18   interim relief until the Court rules on their motion.
                  19         Plaintiffs had hoped to avoid having to seek interim relief from the Court by
                  20   reaching a stipulation with Defendants—and through them, the State agencies that
                  21   Defendants represent—to stay enforcement of AB-5 as against motor carriers. On
                  22   December 20, 2019, within hours of the Court continuing the hearing on Plaintiffs’
                  23   motion for a preliminary injunction, Plaintiffs’ counsel contacted counsel for the State
                  24   to request this stipulation, along with counsel for intervenor-defendant International
                  25   Brotherhood of Teamsters (“Teamsters”). See Declaration of Robert Roginson
                  26   (“Roginson Decl.”), ¶ 4, Ex. A.
                  27         On December 23, 2019, the State confirmed that it would not stipulate to stay
                  28   enforcement of AB-5 until the date that the Court hears Plaintiffs’ motion for a
                                                                 16              Case No. 3:18-cv-02458-BEN-BLM
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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
           Case 3:18-cv-02458-BEN-DEB Document 66-1 Filed 12/24/19 PageID.947 Page 19 of 19



                   1   preliminary injunction. Id. at ¶ 5, Ex. B. Counsel for the State also confirmed that he
                   2   would be out of the country until the following week. Id.
                   3         Because Defendants have refused to stay enforcement of AB-5 pending the
                   4   resolution of the motion for a preliminary injunction, Plaintiffs move immediately for
                   5   relief through this ex parte application. Specifically, on December 23, 2019, Plaintiffs
                   6   informed counsel for the State and the Teamsters that they would be filing a request
                   7   for a temporary restraining order on December 24, 2019. Id. at ¶ 6, Ex. C. Plaintiffs
                   8   also informed opposing counsel that Judge Benitez’s courtroom was dark this week.
                   9   Id.
                  10   IV.   CONCLUSION
                  11         The Court should enter a temporary restraining order prohibiting Defendants
                  12   from enforcing AB-5 as against motor carriers pending the resolution of Plaintiffs’
                  13   motion for a preliminary injunction.
                  14   DATED: December 24, 2019               OGLETREE, DEAKINS, NASH, SMOAK &
                                                              STEWART, P.C.
                  15

                  16                                          By: /s Alexander M. Chemers
                                                                  Spencer C. Skeen
                  17                                              Robert R. Roginson
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                  18                                          Attorneys for Plaintiffs
                                                              RAVINDER SINGH, THOMAS ODOM, and
                  19                                          CALIFORNIA TRUCKING ASSOCIATION

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                                                                  17             Case No. 3:18-cv-02458-BEN-BLM
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                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
